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                    UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS         MDL NO. 2724
PRICING ANTITRUST LITIGATION           Case No. 16-md-2724-CMR

THIS DOCUMENT RELATES TO:

                                       HON. CYNTHIA M. RUFE
ALL ACTIONS

   DEFENDANTS’ OBJECTION TO SPECIAL MASTER DAVID H. MARION’S
        REPORT AND RECOMMENDED ORDER SETTING FORTH
       CASE MANAGEMENT ORDER AND DISCOVERY SCHEDULE
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        Defendants jointly submit this objection to Special Master David H. Marion’s Report and

Recommendation regarding case management and discovery scheduling (“R&R”).

                                              INTRODUCTION

        The principal impediment to moving this case forward efficiently has been Plaintiffs’

choice to proceed by serial complaints. This has resulted in successive waves of complaints and

amended complaints—with more still to come—each one threatening to derail whatever progress

has been made in discovery to that point. The Court tasked the parties, and the Special Master,

with developing a plan to litigate this case in an orderly and efficient way, leading to litigable

bellwether actions. Instead, the R&R proposes to force Defendants to immediately produce

millions of documents that all parties—and even Special Master Marion—acknowledge are

irrelevant, does nothing to address the practical consequences of the filing of serial complaints and

amendments, and disregards both the Federal Rules of Civil Procedure and this Court’s Policies

and Procedures and Pre-Trial Orders. Three core failures mandate rejection of the R&R, and

adoption of a case management order along the lines of Defendants’ July 29, 2019 proposal,

attached as Appendix A. 1

        First, and most critically, the R&R’s mandate that Defendants (but not Plaintiffs) are

barred from withholding documents for responsiveness contravenes the Federal Rules. The lack

of responsiveness review coupled with the expansive scope of Plaintiffs’ recently proposed search

terms—which include 231 drug names, 59 Defendant names, and more than 360 standalone terms

such as “offer,” “intel,” and “coffee”—will result in exactly the kind of unreasonably broad

discovery the recent amendments to the Federal Rules sought to prevent, threatening the business


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    Defendants are also willing to propose a new case management order in light of the Court’s guidance on the issues
    discussed herein. For clarity, Defendants also attach an annotated version of the R&R that notes the specific
    provisions to which Defendants object. See App. B.



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and personal privacy rights of both Defendants and countless uninvolved non-parties who do

business with or interact with them. And Plaintiffs threaten those rights even further by demanding

the production of full custodial files. It is not reasonable or proportional to force Defendants to

provide Plaintiffs (and, by extension, Defendants’ competitors) with millions of irrelevant, yet

commercially and competitively sensitive documents. It also makes no sense. The notion that

underlies the R&R and Plaintiffs’ position—that Defendants cannot adequately assess

responsiveness in line with Plaintiffs’ theory of the case—is both factually and conceptually

incorrect. And as a practical matter, accepting that Defendants are entitled to sufficient time to

review documents for privilege before production, denying them the ability to review for

responsiveness would not result in meaningful time savings.

       There is absolutely no basis for imposing what is effectively a discovery sanction on every

Defendant. The Federal Rules and Third Circuit law mandate production of only relevant

documents and place the responsibility for determining responsiveness in the hands of the

producing party. The R&R’s wholesale abandonment of those laws is clear legal error.

       Second, the R&R fails to establish a litigation structure that will efficiently focus the

parties’ efforts on a bellwether case or cases, and meaningfully “suspend” later filed complaints to

prevent them from interfering with that focus. The R&R requires that each time a new complaint

is filed, any new drugs or defendants from that complaint must be added as search terms. That

defeats the purpose of the case management order, as Defendants will be forced to repeatedly

search for and produce documents every time a new complaint or set of complaints is filed. This

is not a hypothetical concern, as Plaintiffs have promised an untold number of additional

complaints in the future. The solution to the practical problem created by Plaintiffs filing serial

complaints is not to reward Plaintiffs with unjustified access to Defendants’ documents and on a




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schedule that impedes the parties’ ability to focus on post-discovery litigation (i.e., class

certification and summary judgment). This sprawling MDL needs a true “Suspense Docket” that

would permit the already filed cases to proceed to resolution without disruption and delay each

time a new complaint is filed. Defendants’ proposed discovery methodology is sufficiently broad

to cover the information relevant to the so-called overarching conspiracy claims as well as the

specific drugs in those cases. And once the States have finished filing new cases, and the other

Plaintiffs have finished amending their complaints, the parties can quickly and efficiently conduct

one round of clean up discovery, to produce information, if any, specifically needed for later filed

suspended cases.

       Third, a number of the R&R’s provisions create discovery obligations that are not provided

for in the Federal Rules, are contrary to this Court’s rules, and provide Plaintiffs an undue

advantage. Paragraph 4 requires Defendants to identify and provide Plaintiffs with documents

regarding “class certification, experts and other economic, or data related issues” without any

discovery requests from Plaintiffs. Paragraphs 10 and 11 allow Plaintiffs to submit expert rebuttal

reports but provide Defendants no opportunity to depose Plaintiffs’ experts on those reports. And

Paragraph 11 deprives Defendants of their right under the Court’s Policies and Procedures to file

a Sur-Reply during class certification briefing.

       Despite the ever-expanding scope of this already massive MDL, Defendants have acted in

good faith to advance the progress of this case: Defendants have consistently and substantively

tried to engage with Plaintiffs regarding discovery issues, such as custodians, search terms,

subpoenas to third parties, and production from the Connecticut Attorney General’s Office. All

Defendants served with Plaintiffs’ initial February 2018 set of discovery requests have begun

producing documents. And Defendants’ proposal provides a fair and efficient structure for moving




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this case forward. Accordingly, Defendants respectfully request that the Court reject the sections

of the R&R discussed below and enter an Order consistent with Appendix A.

                                         ARGUMENT

I.     DEFENDANTS MUST BE ALLOWED TO WITHHOLD DOCUMENTS BASED
       ON RELEVANCE AND RESPONSIVENESS.

       A.      The R&R’s Prohibition Of A Responsiveness Review Is Unlawful.

       The R&R provides that “Defendants shall apply the agreed search terms to the agreed

custodial files and may review the identified documents for privilege, but may not withhold prior

to production any documents based on relevance or responsiveness.” Ex. 1, R&R Ex. A, ¶ 3(b).

In other words, the R&R proposes that Defendants produce millions of documents—including

sensitive technical developments, highly confidential internal strategy, and communications with

countless uninvolved non-parties—without regard for whether any given document has any

relevance whatsoever to the parties’ claims and defenses in this case. To Defendants’ knowledge,

no such requirement has ever been imposed in an antitrust MDL despite the litigation of dozens of

such cases in the e-discovery era. And there is no legal basis for this proposal, which flatly

contradicts the Federal Rules of Civil Procedure and the principles on which they are based.

Defendants therefore object to this provision and request that the Court modify Paragraph 3(b) to

read, “Defendants shall apply the agreed search terms to the agreed custodial files and may review

the identified documents for responsiveness, confidentiality, and privilege.”

       Both Plaintiffs and the Special Master concede that the R&R will result in Defendants

producing material that is not relevant to the claims asserted in this MDL. This is unlawful.

Federal Rule of Civil Procedure 26 only permits discovery that “is relevant to any party’s claim




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or defense and proportional to the needs of the case.” 2 Fed. R. Civ. P. 26(b)(1). The Rule directs

that “the court must limit” discovery that “is outside the scope permitted by Rule 26(b)(1).” Fed.

R. Civ. P. 26(b)(2)(C)(iii). These parameters are not discretionary. The Third Circuit has

unequivocally held that relevance is a mandatory requirement for discovery, not a prudential

suggestion. See Equal Employment Opportunity Comm’n v. Univ. of Pa., 850 F.2d 969, 979 (3d

Cir. 1988), aff’d, 493 U.S. 182 (1990) (“Perhaps the single most important word in Rule 26(b) is

‘relevant’ for it is only relevant matter that may be subject to discovery.”); accord Leyse v. Bank

of Am. Nat’l Ass’n, Civ. No. 2:11-cv-7128-SDW-SCM, 2019 U.S. Dist. LEXIS 100213, at *5

(D.N.J. June 14, 2019) (“[T]he polestar of discovery is relevance to a party’s claim or defenses,

not their discovery wishes.”).

        Applying these principles, this Court has recognized that discovery need only be fair, not

exhaustive. See Boeynaems v. LA Fitness Int’l., LLC, 285 F.R.D. 331, 333 (E.D. Pa. 2012) (noting

in the context of cost sharing for discovery that, “[d]iscovery need not be perfect, but discovery

must be fair.”). And this Court has also conclusively rejected the use of discovery to explore

amorphous potential claims rather than to test the allegations actually made in the litigation. See

Lafate v. Vanguard Grp., Inc., No. 13-cv-5555, 2014 WL 4384510, at *7-8 (E.D. Pa. Sept. 5, 2014)

(“[D]iscovery should not serve as a fishing expedition.”).

        There is no legitimate basis for requiring production without a relevance and

responsiveness review—an approach more befitting a severe discovery sanction than a case

management order. And the R&R does not cite any legal authority for this position. Rather, the

sole reasoning provided in the R&R is that “extensive and broad-ranging discovery is both

necessary and appropriate for these cases to be fairly adjudicated; and is also essential for any


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    Unless otherwise noted, all emphasis is added and internal citations omitted.



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meaningful settlement discussions[.]” See Ex. 1, R&R at 3–4. But the R&R does not explain how

the production of irrelevant and non-responsive material is “necessary and appropriate” for the

cases to be “fairly adjudicated” or how it would lead to settlement discussions—a factor that should

not be considered at all in deciding the appropriate scope of discovery. 3 The R&R also does not

explain how the production of relevant and responsive material would be less likely to achieve

these goals.

        District courts around the country have expressly rejected the approach adopted in the

R&R. In response to a motion to compel production of all documents hitting on certain search

terms, one district court admonished:

        The position taken by plaintiffs is simply untenable—defendant is not obligated to
        turn over all 38,000 documents, after a review eliminates some on the basis of
        privilege. . . . As every law school student and law school graduate knows, when
        performing a computer search on WESTLAW and/or LEXIS, not every case
        responsive to a search command will prove to be relevant to the legal issues for
        which the research was performed. Searching tens of thousands, and hundreds of
        thousands, of electronic documents is no different.

Gardner v. Cont’l Cas. Co., No. 3:13-CV-01918 (JBA), 2016 WL 155002, at *3 (D. Conn. Jan.

13, 2016) (even where plaintiff showed that responsive documents had been improperly withheld,

court directed parties to refine search terms or adopt a quick peek protocol rather than order the

production of all documents hitting on plaintiffs’ proposed terms); see also FlowRider Surf, Ltd.

v. Pac. Surf Designs, Inc., No. 15CV1879-BEN (BLM), 2016 WL 6522807, at *8 (S.D. Cal. Nov.

3, 2016) (“[D]espite the parties’ efforts to tailor the search terms to the issues in this case, the




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    The notion that a case management order and discovery plan should be designed as a way to produce settlements
    is inappropriate. See, e.g., Newton v. A.C.& S., Inc., 918 F.2d 1121, 1129 (3d Cir. 1990) (“[T]he court’s efforts
    to expedite the settlement of cases must be consistent with the dictates of due process. Furthermore, these efforts
    should not unduly pressure or coerce litigants into settlement.”).



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resulting ‘hits’ contain many irrelevant and unresponsive documents, and the Court therefore

agrees with [the producing party] that culling for relevance is warranted.”).

        Another district court found no basis, legal or otherwise, for ordering production of all

documents without review for relevance:

        In our system of law, we allow the party responding to discovery to filter his own
        documents and produce only those which are relevant to the litigation. In the
        absence of some showing that relevant information is being withheld -- and here
        there is none -- there is no basis to make the responding party produce all
        information. Indeed, to do so would make a mockery of F.R.C.P. 26(b)(1).

Wilson v. Rockline Indus., Inc., Civil No. 08-5191, 2009 WL 10707835, at *1 (W.D. Ark. Oct. 22,

2009). Numerous other courts have reached the same conclusion. 4

        The availability of an ex post “clawback” mechanism, see Ex. 1, R&R at 4, is not an

appropriate or effective substitute for conducting a relevance review prior to production. Such a

procedure will inevitably result in satellite litigation over clawbacks, and will necessarily mean

that highly confidential but irrelevant information will have been produced in a case that has

already seen multiple leaks of sealed documents. And as a matter of law, Plaintiffs are not entitled

to review Defendants’ documents for responsiveness. It is well-established that the producing

party “is best situated to evaluate, select, and implement the procedures, methodologies, and

technologies appropriate to meet its preservation and discovery obligations,” and that “there should

be no preemptive restraint placed on a responding party that chooses to proceed on its own with



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    See also Bancpass, Inc. v. Highway Toll Admin., LLC, No. A-14-CV-1062-SS, 2016 WL 4031417, at *3 (W.D.
    Tex. July 26, 2016) (party not required to produce all documents hitting on search terms where “there is no reason
    to believe that [it] has withheld documents it was obligated to produce. Nor is it clear that additional searches
    with the identified search terms would produce more documents responsive to [the] requests for production.”);
    Chen-Oster v. Goldman, Sachs & Co., No. 10 CIV. 6950 (AT) (JCF), 2014 WL 716521, at *1 (S.D.N.Y. Feb. 18,
    2014) (rejecting demand for production of all documents containing search terms); accord General Elec. Co. v.
    United States, 119 F. Supp. 3d 17, 20 (D. Conn. 2015) (holding that the right to conduct responsiveness review
    prior to production is applicable even in unconventional circumstances, and that responsiveness review is a logical
    outgrowth of the right to conduct a review for privilege).



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determining how best to fulfill its preservation and discovery obligations.” The Sedona Principles,

Third Edition: Best Practices, Recommendations & Principles for Addressing Electronic

Document Production, 19 SEDONA CONF. J. 1, Principle 6, 48–50 (2018); see Stambler v.

Amazon.com, Inc., No. 2:09-CV-310 (DF), 2011 WL 10538668, at *11 (E.D. Tex. May 23, 2011)

(producing party is “in the best position to decide whether to review some or all of the e-mails at

issue or to produce without review (subject to a reasonable keyword-based privilege screen)”); see

also In re eBay Seller Antitrust Litig., No. C07-01882 JF (HRL), 2010 WL 2836815, at *3 (N.D.

Cal. July 19, 2010) (holding that even where defendant had already produced the documents in

question in a related case, it was still entitled to review for relevance in the instant case, and noting

that, “it is the litigant responding to discovery requests, and that litigant’s own lawyer, who

searches for and identifies responsive documents that are relevant to the asserted claims or

defenses. The opposing lawyer does not get that luxury.”).

        Nearly universal discovery practice mandates that “[p]roducing parties review documents

or ESI for relevance and responsiveness before they are produced, as well as to determine if any

privilege or other exemption is applicable.”        Commentary on Achieving Quality in the E-

Discovery Process, 15 SEDONA CONF. J. 265 (2014); see also 3 ANTITRUST COUNSELING                   AND

LITIGATION TECHNIQUES § 22.02 (2019) (“As with other documentary discovery, electronic

discovery must be reviewed for relevance, responsiveness, appropriate level of confidentiality and

privilege before it is produced to the other side.”). An up-front review is particularly necessary in

this case, where the search terms are excessively broad and the anticipated custodians (including

high-level executives) have a wide variety of job functions and can be expected to have highly

sensitive documents in their files concerning, for example, potential mergers or other transactions,

technical developments, regulatory strategies, and other issues not pertinent to the case. Once




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those sensitive documents are produced to other parties (including Defendants’ competitors), the

bell cannot be unrung. Clawback procedures are designed as a backstop, not as a justification for

intentionally imposing procedures that are certain to require production of highly-sensitive, non-

responsive materials.

        These concerns are particularly pressing in light of Plaintiffs’ September 11, 2019 proposed

global search terms to all Defendants, which are staggeringly broad. See Ex. 2, Plaintiffs’ 9/11/19

Search Term Proposal. The proposed search terms include 231 drug names, every single Plaintiff’s

name, and numerous common standalone terms such as “speak” and “in person.” These terms

would yield an untold number of irrelevant and competitively sensitive documents that have

absolutely no bearing on the claims at issue here.

        The Federal Judicial Center’s Manual of Complex Litigation instructs that courts should

“prevent indiscriminate, overly broad, or unduly burdensome demands—in general, forbid

sweeping requests, such as those for ‘all documents relating or referring to’ an issue, party, or

claim, and direct counsel to frame requests for production of the fewest documents possible[.]”

David Herr, ANNOTATED MANUAL FOR COMPLEX LITIGATION § 11.443 (4th ed. 2019). The R&R

ignores this principle, and instead authorizes a wide-ranging fishing expedition into irrelevant and

highly confidential material in an implicit effort to coerce Defendants to settle, rather than litigate,

the claims in the case. This is not a proper reason to set aside the Federal Rules.

        B.      Plaintiffs’ Demand For Full Custodial Files Is Unlawful And Inefficient.

        During negotiations leading up to the R&R, Plaintiffs baselessly demanded that Defendants

provide all documents—regardless of relevance—in the files of certain unidentified custodians,

without the application of search terms. This is contrary to established law and should not be




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included in the case management order. 5 Courts across the country have sharply rejected blanket

demands for all files in specific custodial possession or locations without review for relevance.

See, e.g., Russell v. Kiewit Corp., Case No. 18-2144-KHV 2019 U.S. Dist. LEXIS 93078, at *7

(D. Kan. June 4, 2019) (“[P]roducing the entire [employee email file] is ‘simply requesting

discovery regardless of relevancy’ which most definitely is not the standard under the 2015

amendments to Rule 26(b) . . . . Plaintiff has not shown how every email he has sent and received

is relevant to this action.”); Banerjee v. Univ. of Tennessee, No. 3:17-CV-526-HSM-HBG, 2019

WL 1062378, at *2-3 (E.D. Tenn. Mar. 6, 2019) (“[T]he Court finds Plaintiff’s proposal that

Defendant produce the entire [email file], which she will then review, is simply requesting

discovery regardless of relevancy. This is not the standard under Rule 26(b)”); Millsaps v.

Aluminum Co. of Am., MDL 875, Civil No. 10-84924, 2011 WL 6019220, at *2 (E.D. Pa. Dec. 2,

2011) (“Plaintiff does not contend that all the documents are relevant; far from it, as counsel admits

that there will be many documents that are not relevant or responsive to their requests. Therefore,

many if not most of the documents are not discoverable, and plaintiff is not entitled to the entire

set of documents.”); Strauch v. Computer Scis. Corp., 3:14 CV 956 (JBA), 2015 WL 7458506, at

*3 (D. Conn. Nov. 24, 2015) (“defendant is correct that it should not be obligated to disclose

clearly irrelevant documents”). 6


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    While Special Master Marion did not recommend production of Defendants’ full custodial files, to the extent
    Plaintiffs pursue this same argument before the Court, it should be rejected.

6
    Two of the cases cited by Plaintiffs before Special Master Marion as supporting their request for full custodial
    files actually involved only discrete personnel files or sales records. The two that do mention full custodial files
    are inapposite. In the first, the defendant agreed to the production of full custodial files, disputing only the number
    of custodians. In re Actos (Pioglitazone Prods. Liab. Litig.), MDL No. 6:11-md-2299, 2013 WL 4776346 (W.D.
    La. Sept. 3, 2013). In the second, the court directed the production of all documents relating to a single consultant
    whose entire employment was allegedly to facilitate the claimed unlawful conduct. UPMC v. Highmark Inc.,
    Case No. 2:12-cv-00692-JFC, 2013 WL 12141530, at *1 (W.D. Pa. Jan. 22, 2013). That case is plainly inapposite
    where the employees at issue here were engaged in a wide range of ordinary business activities, which are in no
    way alleged to be unlawful. Plaintiffs’ final case was a single-page decision that provided no explanation or
    reasoning. Order, In re Prempro Prods. Liab. Litig., No. 4:03-cv-01507-WRW (E.D. Ark. Aug. 2, 2007).



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        In addition to being unlawful, Plaintiffs’ demand would be extraordinarily inefficient.

Plaintiffs’ approach would require review of the entire contents of the custodial file for privilege

and confidentiality, rather than the smaller percentage of documents selected through search terms.

Defendants who have tested the search terms previously proposed by Plaintiffs found that

somewhere between 30% and 40% of their custodial documents contain one or more of those

terms. Thus, 60% to 70% of custodial documents do not contain even a single term of the broad,

expansive terms identified by Plaintiffs, and are presumptively irrelevant. Even when ignoring the

inevitable “false positives”—documents that include one or more search terms but nevertheless

are irrelevant to the issues—the hit rates observed for Plaintiffs’ initial set of extraordinarily broad

search terms show that a significant portion of the documents in any full custodial file will be

irrelevant and outside the scope of discovery permitted under the Federal Rules.

        Plaintiffs’ approach also violates the proportionality requirement of the Federal Rules

because the burden on Defendants would be massive, compared to the low likelihood of finding a

few additional responsive documents that might have been missed by search terms. Even if

custodial files were sought from a small number of custodians, the sheer size of a typical file would

make the volume of documents to be reviewed for privilege and confidentiality unworkable.

Defendants’ analysis demonstrates that a single custodial file covering four to six years, collected

from an email system that preserves all emails sent and received, will range from a quarter of a

million documents to well over a million documents. Given these volumes, even with only a few

custodians per Defendant, a full custodial file review approach will result in extraordinarily long

review timelines with corresponding delays in production. For example, applying the search terms

Sandoz proposed, Sandoz estimated that it would review approximately 2.3 million documents

total from its 36 agreed custodians. See Ex. 5, Rogers Decl. ¶ 7. Plaintiffs have stated that they




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want full custodial files for 11 of Sandoz’s custodians, but have not identified which custodians.

Sandoz custodians with three or more years of data have custodial files typically ranging between

400,000 and 1.5 million documents. See id. at ¶ 3. Therefore, the number of files to be reviewed

for 11 full custodial files would far eclipse the 2.3 million documents identified by search terms,

as would the time required for review. Contrary to Plaintiffs’ suggestion, the production of

custodial files is not more efficient and faster. Plaintiffs’ suggestion would add a staggering

volume of documents and years to the discovery phase of this litigation. This Court should reject

any request from Plaintiffs for access to full custodial files.

II.        DEFENDANTS’ PROPOSED CASE MANAGEMENT ORDER IS EFFICIENT
           AND PRACTICAL.

           Defendants proposed a case management order that would provide for a far more efficient

litigation of the MDL. Defendants proposed that cases proceed in a phased manner, with discovery

on cases filed prior to May 9, 2019 (the “Earlier Filed Cases”), proceeding immediately, and cases

filed after that date (the “Later Filed Cases”) placed in a “Suspense Docket” until the Earlier Filed

Cases are fully resolved. 7 App. A, Attach. 1, ¶¶ 1–2. Defendants also proposed to broaden the

scope of discovery conducted with respect to the Earlier Filed Cases to ensure that their searches

capture any documents that would support the existence of the alleged overarching conspiracy or

that pertain to “relationships” among suppliers in the pharmaceutical industry, so that discovery

with respect to the Later Filed Cases would only need to involve limited clean-up discovery on

any remaining issues (e.g., transactional data, manufacturing and supply issues). Id. at Attach. 1,

¶ 3.


7
       While Defendants’ proposal set the line at March 20, 2019, because that was the last day discovery had been
       served on a Defendant before State Plaintiffs filed their most recent complaint on May 10, 2019, Defendants also
       believe that May 9, 2019 would be an appropriate line. Ultimately, though, whether the line defining the Earlier
       Filed Cases is drawn on May 9, 2019, or some other date, a Suspense Docket is critical to ensure the orderly
       management of this MDL.



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        A.       This Court Can And Should Establish A Suspense Docket.

        A Suspense Docket is necessary because this is an ever-expanding MDL with no end in

sight. There are now nearly three dozen putative nationwide class actions, as well as multiple

direct action lawsuits, involving more than 125 drugs, more than 50 Defendants, and more than 40

Plaintiffs.   And both Private Plaintiffs and State Plaintiffs have clearly indicated that new

lawsuits—involving more plaintiffs, more defendants, and more drugs—will be filed and

transferred to this MDL. Placing newly filed complaints in a Suspense Docket is the only way to

ensure that this MDL moves forward in an efficient, timely, and meaningful manner, without the

need to begin again with each newly-filed complaint.

        A phased discovery plan is well within the Court’s discretion. Courts have regularly

recognized that “administering cases in multidistrict litigation is different from administering cases

on a routine docket … and that to encourage efficiency, MDL courts must be given greater

discretion to organize, coordinate and adjudicate its proceedings.” Freeman v. Wyeth, 764 F.3d

806, 809 (8th Cir. 2004); see also In re Phenylpropanolamine (PPA) Prod. Liab. Litig., 460 F.3d

1217, 1231 (9th Cir. 2006) (“A district judge charged with the responsibility of ‘just and efficient

conduct’ of the multiplicity of actions in an MDL proceeding must have discretion to manage them

that is commensurate with the task.”).

        Under the R&R, discovery would proceed on all cases—regardless of when they are

filed—at the same time, with discovery expanded each time a new case involving new defendants

or new drugs is added to the MDL. 8 The R&R claims that Defendants’ phased proposal “may risk


8
    Specifically, the R&R provides that “discovery involving pre-existing parties [i.e., those named in the Earlier
    Filed Cases] may be expanded as appropriate to include newly added defendants and/or drugs.” Ex. 1, R&R
    Ex. A, ¶ 1. Similarly, the R&R provides that “[a]ny drug or drug manufacturer or seller defendant added hereafter
    in any new or amended complaint, shall be added to the search terms and searched on a reasonable schedule to
    be established by the parties with the assistance of Special Master Marion and ESI Master Regard, as necessary.”
    Id. at ¶ 3(a)(ii).



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redundancy, multiple depositions of witnesses, and confusion.” See Ex. 1, R&R at 4. Under

Defendants’ proposal, at most, some deponents may be deposed a second time (after clean-up

discovery). This relatively minor risk is offset by the R&R’s guarantee that Defendants will need

to conduct supplemental searches and make additional productions each time new drugs or new

defendants are added to the MDL.

       If the Court adopts the R&R, Defendants would be required to engage in massive and

expensive discovery, but may at any time need to commence additional discovery processes to

account for newly-added parties or drugs when Plaintiffs file new cases. To do so, search protocols

will need to be revised to address new drugs and new defendants. Additional searches will have

to be run repeatedly through vast databases, at great expense. Document reviews will have to be

repeatedly supplemented, at even greater expense.         The end result will be delay and the

unnecessary waste of the parties’ resources. This constant interruption to the discovery process

will jeopardize moving cases forward to class certification and summary judgment.

       B.      Phased Discovery Would Not Be Prejudicial And Would Expedite Discovery.

       Under Defendants’ proposal, no party would be denied discovery. In the Earlier Filed

Cases, Defendants would provide all of the discovery needed to litigate the first bellwether actions,

as well as broad discovery concerning Plaintiffs’ overarching conspiracy allegations. Plaintiffs in

Later Filed Cases would immediately receive any documents revealing competitor

communications and industry relationships (“relationship documents”) that Plaintiffs view as

central to their cases. And parties in the Later Filed Cases would receive the additional discovery

to which they are entitled as part of a round of clean up discovery.

       Plaintiffs’ assertion that they will be prejudiced under Defendants’ proposal because

traditional discovery methods will deprive them of relationship documents is unfounded and




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incorrect. Insofar as such documents exist, there are several targeted and efficient ways to find

them. For example:

       •   Defendants can search the names of the key individuals who allegedly engaged in
           cross-competitor communications.

       •   Defendants can look for communications with any person employed by a competitor
           by searching the domain names of competitors (e.g., @company.com).

       •   To find documents concerning the market and competitive landscape for the drugs at
           issue in the Earlier Filed Cases, Defendants can search for the drug names.

       •   Documents relating to Plaintiffs’ theory of an alleged “Fair Share” conspiracy can be
           identified by searching terms or phrases that Plaintiffs already have identified in their
           complaints, such as “fair share,” “sandbox,” “rules of the road,” “play nice,” “rational
           competitor,” “rational behavior,” “acting responsibly,” “irresponsible competitor” (and
           other variations on these).

       While Plaintiffs have asserted that some internal emails reporting on improper competitor

communications will be too vague or coded to be identified absent production of full custodial

files (e.g., an email that simply says “call me, I have some information”), they are mistaken. To

the extent they exist, these communications can be found by reviewing all communications among

key employees at or around the time of an alleged meeting, call, or market event. Plaintiffs have

phone records for most, if not all, custodians in this case, and claim to know the dates of the alleged

improper communications. And many of those alleged communications were already detailed in

the complaints filed to date. Plaintiffs can thus provide dates and names and meet and confer with

Defendants to discuss conducting reviews—unconfined by search terms—within discrete time

periods to find these documents. Plaintiffs have not done the work of serving targeted discovery

requests that would uncover any relationship documents—instead they want to shift the costs and

burdens to the Defendants by seeking drastically overbroad discovery. This is improper.

       Finally, Defendants’ proposed discovery plan includes a significant compromise, which

alleviates any purported prejudice to Plaintiffs. Defendants named in both an Earlier Filed Case



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and a Later Filed Case have now agreed to conduct a reasonable search for and produce documents

responsive to two of Plaintiffs’ broadest Requests for Production (“RFP”) aimed at relationship

documents, unlimited by drug names. App. A, Attach. 1, ¶¶ 3(a)–(e). Those RFPs seek “all

documents concerning any communications between two or more Defendants or competitors

concerning prices, pricing, pricing policies or practices, bids, customers, customer allocation,

territory allocation, competitive conditions, marketing production, or sales of [] generic

pharmaceuticals,” and “all documents concerning the allocation of customers, territories, or

geographic markets for generic pharmaceuticals between two or more Defendants or competitors.”

RFP Nos. 21 and 23.

       Although most Defendants had reached agreement with Plaintiffs, before this summer, to

narrow the scope of discovery to be provided in response to RFPs 21 and 23, Defendants proposed

this further compromise to facilitate efficient and prompt discovery on Plaintiffs’ overarching

conspiracy allegations. To accomplish this, Defendants would search for the names of other

Defendants with certain limiters (e.g., defendant /10 meet*), which should capture internal

communications that refer to or reflect intra-competitor conversations or relationships. Limiters

are necessary in these searches to avoid sweeping in every document in which a manufacturer

considers or evaluates the market for the hundreds (sometimes thousands) of products that it sold

or considered selling. With appropriate limiters, however, these searches can locate potential

internal communications evidencing or reflecting various types of conduct or communication that

may be relevant and responsive to RFPs 21 and 23:

       •   meetings and communications (e.g., call*, meet*, cocktail*, coffee*, golf* etc.),

       •   alleged collusive behavior (e.g., agree*, coordinat*, conspire* etc.)

       •   attempts to cover up or hide alleged misconduct (e.g., delet*, destroy* etc.)

       •   alleged secretive or concealing behavior (e.g., conceal*, secret* confidential* etc.)


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All of the above-described search terms and methods can be used to identify the subset of

documents in any given custodial file that will be produced in response to RFPs 21 and 23. This

methodology is standard practice in complex cases, and can be adapted by each Defendant (in

negotiation with Plaintiffs) to ensure that the population of documents is both comprehensive and

targeted, in order to make the document review and production process as efficient as possible.

           The Court should reject the R&R to the extent that it provides for immediate discovery in

the Later Filed Cases, and order that all Later Filed Cases be placed in a Suspense Docket until

after the final resolution of the Earlier Filed Cases. 9

III.       THE R&R IS INEFFICIENT, IMPRACTICAL, AND GIVES PLAINTIFFS AN
           UNDUE ADVANTAGE.

           A.       Paragraph 3 Of The R&R Violates The Court’s Prior Orders And Eliminates
                    18 Months Of Discovery Efforts.

           On July 12, 2019, this Court asked the parties to confirm that the “reorganization of how

to proceed is not a 360 reversal, it’s a modification, right?” Status Conf., ECF No. 1053 Tr. 10:7–

15. Yet the discovery methodology proposed in Paragraph 3 of the R&R does just that by reversing

Pretrial Order 95 (“PTO 95”), which governs the method by which the parties will search for

potentially responsive information. This reversal is inefficient and wasteful, and PTO 95 should

not be disregarded in the name of a “creative” solution to a non-existent problem.

           PTO 95 was entered after extensive negotiation between the parties. And in Paragraph 9,

this Court ordered that each party would meet and confer concerning the producing party’s

proposed search methodology (such as search terms). Each producing party would disclose


9
       Defendants also object to the portion of the R&R that contains a preservation requirement. See Ex. 1, R&R
       Ex. A, ¶ 2. The preservation requirement goes far beyond a party’s obligations under the Federal Rules, as it
       requires preservation of all internal and external communications with any other manufacturer of any generic
       prescription drug, regarding any generic prescription drug. Id. No party requested such language, and in any
       event, it is problematically ambiguous and entirely unnecessary given that the parties already have preservation
       protocols in place that comport with their obligations under federal law.



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whether it intends to either (1) produce all non-privileged documents that meet certain search

criteria, or (2) subject the documents to a review for responsiveness. See PTO 95 ¶ 9, ECF No.

1045; see also 9.2 (describing detailed method of negotiation of search terms “as a means of

limiting the volume of information to be reviewed for responsiveness”). By setting forth a different

method by which Defendants will search for and produce documents, Paragraph 3 of the R&R

overrules PTO 95 sub silentio. See Ex. 1, R&R Ex. A, ¶ 3.

       This comes at great expense to Defendants, who incurred considerable costs to comply

with PTO 95. For example, many Defendants already have made search methodology and/or

search term proposals. After initial negotiations with Plaintiffs earlier this year, all of these

proposals have languished in Plaintiffs’ inboxes, as weeks or months have gone by without

meaningful response by Plaintiffs, who now refuse to negotiate in defiance of PTO 95.

Abandoning this prior work is unjustified, rewards Plaintiffs’ waste of resources, and unfairly

punishes Defendants by depriving them of the right to make their own determinations as to how

to search for responsive information, as directed by the Federal Rules and governing law. Nothing

has changed conceptually in this MDL to warrant Plaintiffs’ abandonment of the PTO 95 process.

Defendants have no confidence that Plaintiffs will be motivated to engage in good faith

collaborative negotiations going forward if the past year and a half of work on discovery can now

be disregarded for no meritorious reason.

       B.      The Deadlines In The R&R Are Impractical And Unrealistic.

       The deadlines imposed in the R&R are either impractical or impossible for Defendants to

meet and are based on critically mistaken assumptions about discovery in complex litigations like

this. In contrast, Defendants’ proposal streamlines the document production process as much as

possible, by imposing aggressive but realistic deadlines and incentivizing the parties to work

cooperatively so that rolling document productions can continue without undue delay.


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         First, the R&R’s time periods for meeting and conferring about search terms and objecting

to the Special Masters’ proposals for search terms are unrealistic. In order to tailor search terms

appropriately, potential terms need to be tested by each Defendant using their document processing

vendors to determine how many documents a term pulls and make an initial estimate of what

percentage of those documents are likely to be relevant. The R&R does not account for this

process. Instead, it provides only ten days for the parties to meet and confer. Id. at ¶ 3(c). The

first step in a productive negotiation of search terms is to test the initial proposal, in order to

evaluate which terms or strings appear to be hitting on a disproportionate number of documents.

Given the length and complexity of the terms exchanged thus far, this process likely will take four

to six days for an e-discovery vendor to carry out. See Ex. 3, Teich Decl. ¶ 11; see also Ex. 4,

Becker Decl. ¶ 12; Ex. 5, Rogers Decl. ¶ 6; Ex. 6, Parish Decl. ¶ 5; Ex. 7, Van Nostrand Decl.

¶ 11. Once the initial terms have been tested, counsel will need multiple days to analyze the results

and potentially sample a random subset of the document hits. After this analysis is done, the

parties should meet and confer about where the proposed terms appear to be over-inclusive or

under-inclusive. It will be impossible to have a productive negotiation in a period as short as 10

days, and there certainly will not be sufficient time to test any proposed alternative search terms.

         The parties will then be forced to present their inevitable disagreements to Special Masters

Marion and Regard (who will be inundated with disputes from most, if not all, Defendants). 10

From there, the Special Masters will make proposals for testing, and Defendants will have only 14

days to test those terms and submit objections. This is not enough time to run the multiple rounds




10
     Despite the large number of parties and compressed time frame, the parties will not have the benefit of Special
     Discovery Master Merenstein’s assistance, as he was omitted from this process in the R&R—despite his Court-
     ordered remit. See Pretrial Order 68 ¶ 4, ECF No. 823 (granting referrals for, among other things, “disputes
     related to production of documents,” which necessarily includes search terms).



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of testing necessary to provide thoughtful objections and viable solutions to any problematic terms.

Defendants’ proposal already included an aggressive schedule allowing for only 20 days to

conduct testing and prepare objections and alternative proposals—that is the minimum period of

time Defendants believe is needed to do a single test and prepare objections.

       Second, the deadline for producing documents is unattainable. The R&R requires that

search term disputes be submitted to the Special Masters within 30 days after entry of the R&R—

the earliest date would be roughly October 24, 2019. If the Special Master(s) met with the parties,

considered the terms in dispute and issued proposed search terms within only two weeks (an

aggressively short period, considering the complexity of the terms that have been proposed thus

far and the number of parties that are likely to have disputed terms), the deadline for submitting

objections to the recommended terms would be November 21, 2019. Even assuming the Court

ruled on all of those objections within one week (which would mean issuing an Order on

Thanksgiving), Defendants would have only three weeks to make their document productions by

the R&R’s deadline of December 20, 2019. This would be impossible.

       Many Defendants have collected more than 10 million documents (some nearly twice that

amount), based on the custodians agreed by the parties and the date range ordered by Special

Discovery Master Merenstein. See Ex. 3, Teich Decl. ¶ 5; see also Ex. 4, Becker Decl. ¶ 5; Ex. 5,

Rogers Decl. ¶ 3; Ex. 6, Parish Decl. ¶ 5; Ex. 7, Van Nostrand Decl. ¶ 3. Assuming a document

population of 10 million documents, application of the search terms would likely take about one

week. See Ex. 3, Teich Decl. ¶ 13; see also Ex. 4, Becker Decl. ¶ 12; Ex. 5, Rogers Decl. ¶ 6;

Ex. 6, Parish Decl.¶ 9; Ex. 7, Van Nostrand Decl. ¶ 11. Additionally, setting aside the time

necessary to conduct a review for privilege, preparation of the documents for production would

take significant additional time. Preparation of a large set of documents for production is an




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unavoidably lengthy process because it involves numerous steps, including identifying the subset

of documents to be produced, creating images of each document, applying Bates numbers and

confidentiality stamps, exporting all production data, quality control, and compressing and

encrypting the production files to a hard drive. See Ex. 3, Teich Decl. ¶ 23; see also Ex. 4, Becker

Decl. ¶ 20; Ex. 5, Rogers Decl. ¶ 8; Ex. 6, Parish Decl. ¶ 13; Ex. 7, Van Nostrand Decl. ¶ 21. The

length of time needed for this process is correlated to the number of pages being produced: a

discovery consultant will need about seven days to prepare 3 million documents for production,

12 to 16 days to produce 5 million documents and between 20 and 27 days to create a production

of 7 million documents. See Ex. 3, Teich Decl. ¶ 24; see also Ex. 4, Becker Decl. ¶ 21; Ex. 5,

Rogers Decl. ¶ 8; Ex. 6, Parish Decl. ¶ 13; Ex. 7, Van Nostrand Decl. ¶ 22. Thus, without allocating

any time for identification of privileged documents, a Defendant would need a full month—10

days longer than provided for in the R&R—merely to carry out the technical aspects of running

the searches, loading the documents, and creating the document production files.                The

impossibility of the R&R schedule would be magnified for any Defendant with more than 5 million

documents hitting on the final set of search terms.

       In addition to the time required to carry out the technological aspects of searching for,

loading and producing documents, Defendants must also, at a minimum, be provided time to

review their document sets for privileged documents. For Defendants with 5 to 8 million

documents hitting on search terms, it would be impossible to conduct a review for privilege in a

week, or even several weeks. A typical contract review attorney can review approximately 40

documents per hour. See Ex. 3, Teich Decl. ¶ 21; see also Ex. 4, Becker Decl. ¶ 16; Ex. 5, Parish

Decl., ¶ 11; Ex. 7, Van Nostrand Decl. ¶ 18. Thus, a review attorney could look at approximately

400 documents per day, and a team of 50 review attorneys could review approximately 20,000




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documents per day. At that rate, it would take 250 working days to conduct a privilege review for

5 million documents. Moreover, this does not include the time necessary to prepare a privilege

log. A privilege log with clear, specific, and accurate descriptions of each withheld document

requires time to prepare, review, and revise. Cutting this period short will result in Defendants

erring on the side of withholding more documents, increasing the length of the logs, and decreasing

the quality of the entries in the logs.

         The R&R’s proposed schedule for document production would deprive Defendants of a

meaningful right to protect their attorney-client privilege. The R&R puts Defendants in the

position of having to choose between hiring a huge (and unmanageable) number of contract

attorneys to do a manual, document-by-document review in a short period of time (and with no

time for quality control) or using search terms to try to find privileged documents, which entails a

higher likelihood of inadvertent production of privileged documents. Neither option is acceptable.

Defendants’ undisputed right to withhold privileged documents from production is effectively

nullified by the unreasonable schedule imposed in the R&R.

         Third, the deadlines for production and confidentiality designations impose inefficiency

and undue burden. Instead of permitting Defendants to review each document one time for

responsiveness, relevance, privilege and confidentiality, the R&R prohibits a responsiveness

review, truncates privilege review to such a degree that Defendants would be unable to

simultaneously assess confidentiality during that process, and then sets a second (but still

unrealistic) deadline for the application of confidentiality designations. 11 Ex. 1, R&R Ex. A,


11
     The 120 day period to review and make confidentiality designations is similarly unrealistic. Broad search terms
     are likely to hit on documents containing trade secret information and therefore it is necessary to review
     documents on a document-by-document basis. Defendants cannot review multiples of millions of documents in
     a 120 day period. The R&R orders them to do so on pain of losing the protections afforded under Pretrial Order
     53 designations. At the very least, any documents that are not re-designated should remain Highly Confidential
     until such time as they can be re-designated by Defendants.



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⁋ 3(e). This inefficiency is further compounded by the fact that Defendants are being forced to

assess privilege and confidentiality on irrelevant and non-responsive documents.

         The Court should accept the deadlines included in Defendants’ proposal, which are realistic

and attainable and will ensure that document productions continue without undue delay.

         C.        The R&R Provides Plaintiffs An Undue Advantage.

         Paragraphs 4(a)(ii) and 4(a)(iii) of the R&R purport to mandate the production of

“targeted” documents relating to “class certification, experts and other economic or data-related

issues,” and unidentified (and seemingly unlimited) additional documents identified through

“additional targeted search terms based on review of documents and samples.” Ex. 1, R&R Ex.

A, ¶¶ 4(a)(ii)–(iii). These sections are vague and impractical, and contravene the Federal Rules

by requiring Defendants to produce documents without any existing discovery requests from

Plaintiffs. 12

         Paragraphs 4(a)(ii) and (iii) also create an unworkable and inefficient process. Paragraph

4(a)(iii) is particularly problematic, as it requires the production of documents that hit on

“additional targeted search terms,” with no limitation except that such terms will be selected based

on the “review of documents and samples.” Id. Defendants are entitled to at least the limits on



12
     The Federal Rules require discovery to proceed through an orderly, well established process: one party requests
     documents, the other party has an opportunity to object, all parties negotiate their disagreements, the producing
     party provides any agreed documents, and then, if required, the party seeking discovery can move to compel
     further production. This process is not merely a matter of custom; it reflects the law on discovery, requiring that
     court orders follow after, and be specific to, particular discovery requests. See Petrucelli v. Bohringer &
     Ratzinger, GMBH, 46 F.3d 1298, 1310 (3d Cir. 1995) (“In order to succeed on a motion to compel discovery, a
     party must first prove that it sought discovery from its opponent.”); see also MDAdvantage Ins. Co. of N.J. v.
     Hasiuk, No. 16-CV-969, 2018 WL 3328049, at *3 (E.D. Pa. July 6, 2018) (party that does not propound discovery
     requests has no standing to compel responses); Illes v. Beaven, Civil No. 1:12-CV-0395, 2013 WL 522075, at *1
     (M.D. Pa. Feb. 11, 2013) (“The Third Circuit has found that ‘before a party may succeed on a motion to compel
     discovery, that party must first prove that it sought discovery in the manner required by the rules of procedure.’”).
     The R&R preempts this process by omitting any provision for the service of supplemental discovery requests or
     objections thereto. Instead, the R&R requires Defendants to begin at step three, with meeting and conferring
     about unspecified and overly broad categories of documents, and then make a production.



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discovery imposed by the Federal Rules, and to a process that includes an opportunity for

objections, which this provision omits. Additionally, the four categories on which Defendants are

to meet and confer are immensely broad and utterly vague, such that any meet and confer

discussions likely will be unwieldy and unproductive. Although disputes can be brought to the

Special Master, the proposed schedule does not permit sufficient time for the number and scope of

disputes likely to arise from such an ill-defined starting point. And once Defendants’ massive

productions are complete, there will be only three weeks to carry out the collapsed meet-and-confer

process pursuant to Paragraphs 4(a)(ii) and 4(a)(iii), leaving little time for either side to be well-

informed, thoughtful, or discerning about what already has been produced and what might still be

needed. 13

         The R&R also allows for the depositions of Plaintiffs’ and Defendants’ merits and class

certification experts following the service of each side’s expert reports, but before rebuttal reports

are due, and notes that each expert “is to be deposed only one time.”                                            Id.

¶¶ 10(d), 11(b), 11(d). While Defendants agree that a single round of expert depositions would be

the most efficient approach, denying Defendants the opportunity to ask questions about an expert’s

rebuttal report undermines the core purpose of expert discovery: to rigorously test the methods and

conclusions of the experts. This purpose cannot be served by concluding depositions before the

report process is finished. This Court should impose a single deadline for expert depositions that

post-dates the submission of all reports, including rebuttal reports.




13
     Some provisions of the R&R cut out the meet and confer process entirely, effectively making substantive rulings
     on issues that have never been debated, litigated, or ruled upon in contravention of Rule 37 and PTO 68 ¶ 1. For
     example, Paragraph 5(a) goes beyond setting a deadline for the production of data samples where it defines the
     specific type of data to be provided (i.e., “transaction level”). Ex. 1, R&R Ex A, ¶ 5(a).



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       Finally, Paragraph 11 provides the schedule for filing of motions for class certification and

Daubert motions, but does not allow Defendants to file Sur-Reply memoranda. This Court permits

Sur-Replies, and “[t]he parties need not seek leave of Court to file their Reply and Sur-Reply

memoranda.” Judge Cynthia M. Rufe, Policies and Procedures, Civil Matters, ¶ 7. Accordingly,

Defendants request inclusion of a deadline for the service of Sur-Replies on class certification and

related Daubert motions.

                                         CONCLUSION

       For all of the foregoing reasons, Defendants respectfully request that this Court sustain

their objection to the Special Master David H. Marion’s Report and Recommendation, and instead

adopt a case management order consistent with Defendants’ proposal, attached as Appendix A.



 Dated: September 13, 2019                             Respectfully submitted,

                                                        /s/ Devora W. Allon
                                                       Jay P. Lefkowitz, P.C.
                                                       Devora W. Allon
                                                       Alexia R. Brancato
                                                       KIRKLAND & ELLIS LLP
                                                       601 Lexington Avenue
                                                       New York, NY 10022
                                                       Tel.: (212) 446-4800
                                                       Fax: (212) 446-4900

                                                       Counsel for Upsher-Smith Laboratories,
                                                       LLC




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 /s/ Sheron Korpus                        /s/ Anthony C. Porcelli
Sheron Korpus                            Anthony C. Porcelli
Seth A. Moskowitz                        POLSINELLI PC
KASOWITZ BENSON TORRES LLP               150 N. Riverside Plaza, Suite 3000
1633 Broadway                            Chicago, IL 60606
New York, New York 10019                 (312) 819-1900
Tel: (212) 506-1700                      (312) 819-1910 (fax)
Fax: (212) 506-1800                      aporcelli@polsinelli.com
skorpus@kasowitz.com
smoskowitz@kasowitz.com                  Amy D. Fitts
                                         POLSINELLI PC
Counsel for Actavis Pharma, Inc.,        900 W. 48th Place, Suite 900
Actavis Holdco U.S., Inc.                Kansas City, MO 64112
                                         Tel.: (816) 753-1000
                                         Fax: (816) 222-0425
                                         afitts@polsinelli.com

                                         Counsel for Akorn, Inc., Akorn Sales, Inc.,
                                         and Hi-Tech Pharmacal Co., Inc.




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 /s/ James W. Matthews                   /s/ W. Gordon Dobie
James W. Matthews                       W. Gordon Dobie
Katy E. Koski                           WINSTON & STRAWN LLP
John F. Nagle                           35 W. Wacker Dr.
FOLEY & LARDNER LLP                     Chicago, IL 60601
111 Huntington Avenue                   Tel: (312) 558-5600
Boston, MA 02199                        Fax: (312) 558-5700
Tel: (617) 342-4000                     WDobie@winston.com
Fax: (617) 342-4001
jmatthews@foley.com                      /s/ Irving Wiesen
kkoski@foley.com                        Irving Wiesen
jnagle@foley.com                        LAW OFFICES OF IRVING L.
                                        WIESEN, P.C.
James T. McKeown                        420 Lexington Avenue - Suite 2400
Elizabeth A. N. Haas                    New York, NY 10170
Kate E. Gehl                            Tel: (212) 381-8774
FOLEY & LARDNER LLP                     Fax: (646) 536-3185
777 East Wisconsin Avenue               iwiesen@wiesenlaw.com
Milwaukee, WI 53202-5306
Tel: (414) 271-2400                     Counsel for Ascend Laboratories, LLC
Fax: (414) 297-4900
jmckeown@foley.com
ehaas@foley.com
kgehl@foley.com

Terry M. Henry
Melanie S. Carter
BLANK ROME LLP
One Logan Square
130 North 18th Street
Philadelphia, PA 19103
Tel: (215) 569-5644
Fax: (215) 832-5644
THenry@blankrome.com
MCarter@blankrome.com

Counsel for Apotex Corp.




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    Case 2:16-md-02724-CMR Document 1091 Filed 09/13/19 Page 33 of 42




 /s/ Wayne A. Mack                               /s/ Helen A. Nau
Wayne A. Mack                                   Henry E. Klingeman
Sean P. McConnell                               Helen A. Nau
Sarah O'Laughlin Kulik                          KROVATIN KLINGEMAN LLC
DUANE MORRIS LLP                                60 Park Place
30 S. 17th Street                               Suite 1100
Philadelphia, PA 19103                          Newark, New Jersey 07102
Tel: (215) 979-1152                             Tel.: (973) 424-9777
wamack@duanemorris.com                          hklingeman@krovatin.com
spmcconnell@duanemorris.com                     hnau@krovatin.com
sckulik@duanemorris.com
                                                Counsel for David Berthold
Counsel for Aurobindo Pharma USA, Inc.

 /s/ Stacey Anne Mahoney                          /s/ Thomas H. Suddath, Jr.
Stacey Anne Mahoney                             Thomas H. Suddath, Jr.
MORGAN, LEWIS & BOCKIUS LLP                     Anne E. Rollins
101 Park Avenue                                 REED SMITH LLP
New York, NY 10178                              Three Logan Square
Tel.: (212) 309-6930                            1717 Arch Street, Suite 3100
Fax: (212) 309-6001                             Philadelphia PA 19103
stacey.mahoney@morganlewis.com                  (215) 851-8100
                                                (215) 851-1420 (fax)
Counsel for Breckenridge Pharmaceutical, Inc.   tsuddath@reedsmith.com

                                                Michael E. Lowenstein
                                                REED SMITH LLP
                                                Reed Smith Centre
                                                225 Fifth Avenue
                                                Pittsburgh, PA 15222
                                                (412) 288-3131
                                                (412) 288-3063 (fax)
                                                mlowenstein@reedsmith.com

                                                Counsel for Maureen Cavanaugh




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    Case 2:16-md-02724-CMR Document 1091 Filed 09/13/19 Page 34 of 42




  /s/ Steven E. Bizar                    /s/ Brian T. Feeney
Steven E. Bizar                         Brian T. Feeney
John P. McClam                          GREENBERG TRAURIG, LLP
Tiffany E. Engsell                      1717 Arch Street
DECHERT LLP                             Suite 400
Cira Centre                             Philadelphia, PA 19103
2929 Arch Street                        Tel.: (215) 988-7812
Philadelphia, PA 19104                  Fax: (215) 717-5265
Tel.: (215) 994-2000                    feeneyb@gtlaw.com
steven.bizar@dechert.com
john.mcclam@dechert.com                 Roger B. Kaplan
tiffany.engsell@dechert.com             GREENBERG TRAURIG, LLP
                                        500 Campus Drive, Suite 400
Counsel for Citron Pharma LLC           Florham Park, NJ 07932-0677
                                        Tel.: (973) 360-7957
                                        Fax: (973) 295-1257
                                        kaplanr@gtlaw.com

                                        Counsel for Dr. Reddy's Laboratories,
                                        Inc.

  /s/ Jeffrey D. Smith                   /s/ Anna M. Rathbun
Jeffrey D. Smith                        Marguerite M. Sullivan
Thomas A. Abbate                        Anna M. Rathbun
Amar Mehta                              LATHAM & WATKINS LLP
DeCOTIIS, FITZPATRICK, COLE & GIBLIN,   555 Eleventh Street, NW
LLP Glenpointe Centre West              Suite 1000
500 Frank W. Burr Blvd.                 Washington, D.C. 20004
Teaneck, NJ 07666                       Tel.: (202) 637-2200
Tel.: (201) 907-5228                    Fax: (202) 637-2201
Fax: (201) 928-0588                     marguerite.sullivan@lw.com
jsmith@decotiislaw.com                  anna.rathbun@lw.com
tabbate@decotiislaw.com
amehta@decotiislaw.com                  Counsel for G&W Laboratories, Inc.

Counsel for Epic Pharma, LLC




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    Case 2:16-md-02724-CMR Document 1091 Filed 09/13/19 Page 35 of 42




 /s/ Steven A. Reed                                /s/ Edward B. Schwartz
Steven A. Reed                                    Edward B. Schwartz
R. Brendan Fee                                    Jennifer M. Driscoll
Melina R. DiMattio                                Andrew C. Bernasconi
MORGAN LEWIS & BOCKIUS, LLP                       REED SMITH LLP
1701 Market Street                                1301 K Street NW
Philadelphia, PA 19103                            Suite 1000-East Tower Washington, DC 20005
Tel: (215) 963-5000                               Tel: (202) 414-9200
Fax: (215) 963-5001                               Fax: (202) 414-9299
steven.reed@morganlewis.com                       eschwartz@reedsmith.com
brendan.fee@morganlewis.com                       jdriscoll@reedsmith.com
melina.dimattio@morganlewis.com                   abernasconi@reedsmith.com

Andrew S. Wellin                                  William J. Sheridan
MORGAN LEWIS & BOCKIUS, LLP                       Courtney B. Averbach
101 Park Avenue                                   REED SMITH LLP
New York, NY 10178                                Reed Smith Centre
Tel: (212) 309-6154                               225 Fifth Ave.
Fax: (212) 309-6001                               Pittsburgh, PA 15222
andrew.wellin@morganlewis.com                     Tel: (412) 288-3131
                                                  Fax: (412) 288-3063
Counsel for Glenmark Pharmaceuticals Inc.,        wsheridan@reedsmith.com
USA                                               caverbach@reedsmith.com

                                                  Counsel for Heritage Pharmaceuticals Inc.




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    Case 2:16-md-02724-CMR Document 1091 Filed 09/13/19 Page 36 of 42




 /s/ David. L. Hanselman, Jr.                      /s/ Catherine Redlich
David L. Hanselman, Jr.                           Catherine Redlich
MCDERMOTT WILL & EMERY LLP                        DRISCOLL & REDLICH
444 W. Lake St.                                   110 West 40th Street
Suite 4000                                        Suite 1900
Chicago, IL 60606                                 New York, New York 10018
Tel.: (312) 984-3610                              Tel: (212) 986-4030
dhanselman@mwe.com                                CRedlich@driscollredlich.com

Raymond A. Jacobsen, Jr.                          Counsel for Armando Kellum
Paul M. Thompson (Pa. No. 82017)
Lisa A. Peterson
MCDERMOTT WILL & EMERY LLP
500 N. Capitol St. NW
Washington, D.C. 20001
Tel.: (202) 756-8000
rayjacobsen@mwe.com
pthompson@mwe.com
lpeterson@mwe.com

Nicole L. Castle
MCDERMOTT WILL & EMERY LLP
340 Madison Ave.
New York, NY 10173
Tel.: (212) 547-5400
ncastle@mwe.com

Counsel for Impax Laboratories, Inc. and Amneal
Pharmaceuticals, Inc.




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 /s/ Ryan T. Becker                            /s/ Leiv H. Blad
Gerald E. Arth                                Leiv H. Blad
Ryan T. Becker                                Zarema A. Jaramillo
FOX ROTHSCHILD LLP                            Katie R. Glynn
2000 Market Street, 20th Floor                LOWENSTEIN SANDLER LLP
Philadelphia, PA 19103                        2200 Pennsylvania Avenue, NW
Tel.: (215) 299-2000                          Washington, DC 20037
Fax: (215) 299-2150                           Tel.: (202) 753-3800
garth@foxrothschild.com                       Fax: (202) 753-3838
rbecker@foxrothschild.com                     lblad@lowenstein.com
                                              zjaramillo@lowenstein.com
George G. Gordon                              kglynn@lowenstein.com
Stephen D. Brown
Julia Chapman                                 Counsel for Lupin Pharmaceuticals, Inc.
DECHERT LLP
2929 Arch Street
Philadelphia, PA 19104-2808
Tel.: (215) 994-2382
Fax: (215) 655-2240
george.gordon@dechert.com
stephen.brown@dechert.com
julia.chapman@dechert.com

Counsel for Lannett Company, Inc.

  /s/ Robert J. Cleary                         /s/ Brian J. Smith
Robert J. Cleary                              Michael Martinez
Dietrich L. Snell                             Steven Kowal
David A. Munkittrick                          Lauren Norris Donahue
Edward Canter                                 Brian J. Smith
PROSKAUER ROSE LLP                            K&L GATES LLP
11 Times Square                               70 W. Madison St., Suite 3300
New York, NY 10036                            Chicago, IL 60602
Tel.: (212) 969-3000                          Tel.: (312) 372-1121
rjcleary@proskauer.com dsnell@proskauer.com   Fax: (312) 827-8000
dmunkittrick@proskauer.com                    michael.martinez@klgates.com
ecanter@proskauer.com                         steven.kowal@klgates.com
                                              lauren.donahue@klgates.com
Counsel for Rajiv Malik                       brian.j.smith@klgates.com

                                              Counsel for Mayne Pharma Inc.




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 /s/ Jeffrey C. Bank                            /s/ Peter M. Ryan
Chul Pak                                      L. Barrett Boss
Jeffrey C. Bank                               S. Rebecca Brodey
Daniel P. Weick                               Thomas J. Ingalls
WILSON SONSINI GOODRICH & ROSATI,             COZEN O’CONNOR
PC                                            1200 19th Street N.W., Suite 300
1301 Avenue of the Americas, 40th Floor       Washington, DC 20036
New York, NY 10019                            (202) 912-4818
Tel.: (212) 497-7726                          bboss@cozen.com
Fax: (212) 999-5899                           rbrodey@cozen.com
cpak@wsgr.com                                 tingalls@cozen.com
jbank@wsgr.com
dweick@wsgr.com                               Peter M. Ryan
                                              COZEN O’CONNOR
 /s/ Benjamin F. Holt                         One Liberty Place
Adam K. Levin                                 1650 Market Street
Benjamin F. Holt                              Philadelphia, PA 19103
Justin W. Bernick                             (215) 665-2130
HOGAN LOVELLS US LLP                          pryan@cozen.com
555 Thirteenth Street, NW
Washington, D.C. 20004                        Counsel for James Nesta
Tel: (202) 637-5600
Fax: (202) 637-5910
adam.levin@hoganlovells.com
benjamin.holt@hoganlovells.com
justin.bernick@hoganlovells.com

Counsel for Mylan Pharmaceuticals Inc.




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    Case 2:16-md-02724-CMR Document 1091 Filed 09/13/19 Page 39 of 42




  /s/ John E. Schmidtlein                             /s/ J. Clayton Everett, Jr.
John E. Schmidtlein                                 Scott A. Stempel
Sarah F. Teich                                      J. Clayton Everett, Jr.
WILLIAMS & CONNOLLY LLP                             Tracey F. Milich
725 Twelfth Street, N.W.                            MORGAN, LEWIS & BOCKIUS LLP
Washington, D.C. 20005                              1111 Pennsylvania Avenue, NW
Tel.: (202) 434-5000                                Washington, D.C. 20004
Fax: (202) 434-5029                                 Tel.: (202) 739-3000
jschmidtlein@wc.com                                 Fax: (202) 739-3001
steich@wc.com                                       scott.stempel@morganlewis.com
                                                    clay.everett@morganlewis.com
Counsel for Par Pharmaceutical, Inc.                tracey.milich@morganlewis.com

                                                    Harvey Bartle IV.
                                                    Francis A. DeSimone
                                                    MORGAN, LEWIS & BOCKIUS LLP
                                                    1701 Market Street
                                                    Philadelphia, PA 19103
                                                    Tel.: (215) 963-5000
                                                    Fax: (215) 963-5001
                                                    harvey.bartle@morganlewis.com
                                                    frank.desimone@morganlewis.com

                                                    Counsel for Perrigo New York, Inc.

  /s/ Ilana H. Eisenstein                            /s/ Thomas H. Lee, II
Ilana H. Eisenstein                                 Thomas H. Lee, II
Ben C. Fabens-Lassen                                Jeffrey J. Masters
DLA PIPER LLP (US)                                  DECHERT LLP
1650 Market Street, Suite 5000                      2929 Arch Street
Philadelphia, PA 19103                              Philadelphia, PA 19104
Tel: (215) 656-3300                                 (215) 994-4000
Fax: (215) 656-3301                                 thomas.lee@dechert.com
ilana.eisenstein@dlapiper.com                       jeffrey.masters@dechert.com
ben.fabens-lassen@dlapiper.com
                                                    Counsel for David Rekenthaler
Edward S. Scheideman
DLA PIPER LLP (US)
500 Eighth Street, NW
Washington, D.C. 20004
Tel: (202) 799-4000
Fax: (202) 799-5000
edward.scheideman@dlapiper.com

Counsel for Pfizer Inc. and Greenstone, LLC.



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    Case 2:16-md-02724-CMR Document 1091 Filed 09/13/19 Page 40 of 42




 /s/ Saul P. Morgenstern                 /s/ Erik T. Koons
Saul P. Morgenstern                     John M. Taladay
Margaret A. Rogers                      Erik T. Koons
ARNOLD & PORTER KAYE SCHOLER LLP        Stacy L. Turner
250 West 55th Street                    Christopher P. Wilson
New York, New York 10019                BAKER BOTTS LLP
Tel: (212) 836-8000                     1299 Pennsylvania Avenue NW
Fax: (212) 836-8689                     Washington, DC 20004-2400
saul.morgenstern@arnoldporter.com       Tel.: (202) 639-7700
margaret.rogers@arnoldporter.com        Fax: (202) 639-7890
                                        john.taladay@bakerbotts.com
Laura S. Shores                         erik.koons@bakerbotts.com
ARNOLD & PORTER KAYE SCHOLER LLP        stacy.turner@bakerbotts.com
601 Massachusetts Avenue, NW            christopher.wilson@bakerbotts.com
Washington, DC 20001
Tel: (202) 942-5000                     Lauri A. Kavulich
Fax: (202) 942-5999                     Ann E. Lemmo
laura.shores@arnoldporter.com           CLARK HILL PLC
                                        2005 Market St, Suite 1000
Counsel for Sandoz Inc. and             Philadelphia, PA 19103
Fougera Pharmaceuticals Inc.            Tel.: (215) 640-8500
                                        Fax: (215) 640-8501
                                        lkavulich@clarkhill.com
                                        alemmo@clarkhill.com

                                        Lindsay S. Fouse
                                        CLARK HILL PLC
                                        301 Grant St, 14th Floor
                                        Pittsburgh , PA 15219
                                        Tel.: (412) 394-7711
                                        Fax: ( 412) 394-2555
                                        lfouse@clarkhill.com

                                        Counsel for Sun Pharmaceutical
                                        Industries, Inc., Taro Pharmaceuticals
                                        U.S.A., Inc., Taro Pharmaceutical
                                        Industries Ltd., and Mutual
                                        Pharmaceutical Company




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    Case 2:16-md-02724-CMR Document 1091 Filed 09/13/19 Page 41 of 42




 /s/ Heather K. McDevitt                        /s/ J. Gordon Cooney, Jr.
Heather K. McDevitt                            J. Gordon Cooney, Jr.
Bryan D. Gant                                  John J. Pease, III
WHITE & CASE LLP                               Alison Tanchyk
1221 Avenue of the Americas                    William T. McEnroe
New York, New York 10020                       MORGAN, LEWIS & BOCKIUS LLP
Tel: (212) 819-8200                            1701 Market Street
Fax: (212) 354-8113                            Philadelphia, PA 19103
hmcdevitt@whitecase.com                        Tel: (215) 963-5000
bgant@whitecase.com                            Fax: (215) 963-5001
                                               jgcooney@morganlewis.com
Counsel for Teligent, Inc.                     john.pease@morganlewis.com
                                               alison.tanchyk@morganlewis.com
                                               william.mcenroe@morganlewis.com

                                               Amanda B. Robinson
                                               MORGAN, LEWIS & BOCKIUS LLP
                                               1111 Pennsylvania Avenue, NW
                                               Washington, D.C. 20004
                                               Tel: (202) 739-3000
                                               Fax: (202) 739-3001
                                               amanda.robinson@morganlewis.com

                                               Counsel for Teva Pharmaceuticals USA,
                                               Inc.

 /s/ Jan P. Levine                              /s/ Clifford Katz
Jan P. Levine                                  William A. Escobar
Robin P. Sumner                                Clifford Katz
Michael J. Hartman                             Damon W. Suden
PEPPER HAMILTON LLP                            KELLEY DRYE WARREN LLP
3000 Two Logan Square                          101 Park Avenue
Eighteenth & Arch Streets                      New York, NY 10178
Philadelphia, PA 19103-2799                    Tel.: (212) 808-7800
Tel: (215) 981-4000                            Fax: (212) 808-7897
Fax: (215) 981-4750                            wescobar@kelleydrye.com
levinej@pepperlaw.com                          ckatz@kelleydrye.com
sumnerr@pepperlaw.com                          dsuden@kelleydrye.com
hartmanm@pepperlaw.com
                                               Counsel for Wockhardt USA LLC and
Counsel for West-Ward Pharmaceuticals, Corp.   Morton Grove Pharmaceuticals Inc.




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    Case 2:16-md-02724-CMR Document 1091 Filed 09/13/19 Page 42 of 42




 /s/ Mark A. Robertson                           /s/ Jason R. Parish
Robin D. Adelstein                              Jason R. Parish
Mark A. Robertson                               Bradley J. Kitlowski
Gerald A. Stein                                 Brenda Gonzalez Horowitz
NORTON ROSE FULBRIGHT US LLP                    BUCHANAN INGERSOLL & ROONEY
1301 Avenue of the Americas                     PC
New York, New York 10019                        1700 K. Street, N.W., Suite 300
Tel.: (212) 318-3000                            Washington, D.C. 20006
Fax: (212) 808-3400                             Tel.: (202) 452-7900
robin.adelstein@nortonrosefulbright.com         Fax: (202) 452-7989
mark.robertson@nortonrosefulbright.com          jason.parish@bipc.com
gerald.stein@nortonrosefulbright.com            bradley.kitlowski@bipc.com
                                                brenda.horowitz@bipc.com
Counsel for Valeant Pharmaceuticals North
America LLC, Valeant Pharmaceuticals            Counsel for Zydus Pharmaceuticals
International and Oceanside Pharmaceuticals,    (USA), Inc.
Inc.




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